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           Exhibit D-2
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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

____________________________________
                                    :
SUSAN BYRNE,                        :                   C.A. NO. 3:17-CV-01104 (VLB)
           Plaintiff                :
v.                                  :
                                    :
YALE UNIVERSITY,                    :
           Defendant                :                   DECEMBER 30, 2019
___________________________________ :


        DEFENDANT’S OBJECTIONS TO PLAINTIFF’S PROPOSED WITNESSES,
                            WITH PLAINTIFF’S RESPONSES              1


    Name          Defendant’s Objection                                 Plaintiff’s Response
    Kate Stith    Defendant objects to Kate Stith testifying            As discussed in
                  about matters of which she has no                     Plaintiff's Opposition to
                  personal knowledge, including                         Defendant's Motion for
                  supervision of the Plaintiff, the                     Summary Judgment,
                  Department’s reaction to Plaintiff’s                  beginning after the
                  alleged protected activity, and the                   dissemination of the
                  Department’s decision on tenure and                   March 6, 2015
                  promotion; or which are cumulative of                 anonymous letter
                  testimony of other witnesses, such as                 regarding sexual
                  Professors Adorno, Valis, and Gonzalez                harassment allegations
                  Echevarria. FRE 402, 403, 602.                        in the Department of
                                                                        Spanish and Portuguese,
                                                                        Professors Adorno and
                                                                        Valis regularly forwarded
                                                                        emails regarding
                                                                        supervision and
                                                                        oversight of Plaintiff to
                                                                        Professor Stith and
                                                                        frequently met with
                                                                        Professor Stith to
                                                                        discuss supervision and
                                                                        oversight of Plaintiff and
                                                                        her tenure application.
                                                                        Professor Stith
                                                                        possesses knowledge
                                                                        regarding Professor

1
 To the extent that Defendants references objections which will be asserted in motions in limine,
Plaintiff will address those objections in her response to Defendant's motions in limine.

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                                                      Adorno, Gonzalez
                                                      Echevarria and Valis
                                                      discussions regarding
                                                      Plaintiff, which is
                                                      relevant to retaliatory
                                                      animus. Furthermore,
                                                      Professor Stith
                                                      separately
                                                      communicated to the
                                                      University during the
                                                      Climate Review and Title
                                                      IX investigation on behalf
                                                      of the aforementioned
                                                      three professors, and as
                                                      such possesses
                                                      information distinct from
                                                      the three professors
                                                      regarding Plaintiff’s
                                                      claims.
Jamaal     Defendant objects to Jamaal Thomas         As one of two individuals
Thomas     testifying about matters of which he has who interviewed
           no personal knowledge or about alleged Professors Adorno,
           protected activity as to which there is no Gonzalez Echevarria and
           evidence that the decisionmakers in the    Valis for the Climate
           Department of Spanish and Portuguese       Review and who was
           were aware at the time of the tenure vote. also instructed to gather
           FRE 402, 403. Defendant also objects to information for a
           evidence concerning the Climate Review possible Title IX
           Report and the Title IX complaint and      investigation, Mr.
           proceedings. See Motions in Limine;        Thomas possesses
           FRE 402, 403, 602, 801.                    relevant information
                                                      regarding both
                                                      investigations.
                                                      Furthermore, Mr. Thomas
                                                      has personal knowledge
                                                      regarding all three
                                                      professors’ interviews
                                                      during the Climate
                                                      Review and
                                                      communications with the
                                                      professors regarding the
                                                      Climate Review
                                                      investigations –
                                                      according to deposition
                                                      testimony by Mr. Thomas
                                                      the Climate Review

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                                                       interviews discussed
                                                       Plaintiff.
Stephanie   Defendant objects to Stephanie Spangler Dr. Spangler possesses
Spangler    testifying about matters of which she      relevant information
            has no personal knowledge or about         regarding the Climate
            alleged protected activity as to which     Review Report, as she
            there is no evidence that the              testified that she was
            decisionmakers in the Department of        given an oral
            Spanish and Portuguese were aware at       presentation regarding
            the time of the tenure vote. FRE 402,      the Climate Review
            403. Defendant also objects to evidence Report. Furthermore, Dr.
            concerning the Climate Review Report       Spangler conducted
            and the Title IX complaint and             numerous interviews of
            proceedings. See Motions in Limine;        individuals as part of a
            FRE 402, 403, 602, 801.                    Title IX investigation into
                                                       sexual harassment
                                                       allegations against
                                                       Professor Gonzalez
                                                       Echevarria.
Benjamin    Defendant objects to Benjamin Polak        Documentary evidence
Polak       testifying about alleged protected         and testimony has shown
            activity as to which there is no evidence that Mr. Polak had
            that the decisionmakers in the             communications with
            Department of Spanish and Portuguese       Professors Adorno,
            were aware at the time of the tenure vote. Gonzalez Echevarria and
            FRE 402, 403. Defendant also objects to Valis regarding
            evidence concerning the Climate Review perceptions of protected
            Report and the Title IX complaint and      activity and the three
            proceedings. See Motions in Limine.        professors’ retaliatory
                                                       animus. Furthermore,
                                                       Mr. Polak simultaneously
                                                       oversaw the University
                                                       Wide Committee
                                                       investigation into
                                                       Professor Gonzalez
                                                       Echevarria, which
                                                       included previous
                                                       testimony by Plaintiff as
                                                       well as Plaintiff’s appeal
                                                       of her tenure denial. As
                                                       such, Mr. Polak
                                                       possesses relevant
                                                       information regarding
                                                       Plaintiff’s claims of
                                                       retaliation and breach of
                                                       contract.

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William       Defendant objects to William Connors       Defendant’s objection is
Connors       testifying about matters of which he has   nonsensical as Plaintiff
              no personal knowledge - including          both communicated to
              alleged protected activity, alleged        Defendant and he will
              retaliatory acts, and the Department’s     only testify regarding
              tenure denial decision - or about          Plaintiff’s emotional
              damages that are not recoverable or will   distress damages.
              not be heard by the jury. See Motions in   Furthermore, given that
              Limine. Defendant also objects to the      Defendant never
              extent the proposed testimony of this      deposed Plaintiff’s
              witness about alleged damages would be     disclosed expert, Dr. Art
              cumulative or duplicative. Finally, this   Wright, who will be
              witness was not disclosed as               testifying regarding
              knowledgeable about any matter in this     Plaintiff’s damages,
              case until December 13, 2019, which was    Defendant’s objection
              too late to permit Defendant to explore    that they were not able to
              his alleged knowledge during discovery     explore this witnesses
              through deposition and/or document         knowledge through a
              requests. FRE 402, 403, 602.               deposition is
                                                         disingenuous.
Janet Byrne   Defendant objects to Janet Byrne           Defendant’s objection is
              testifying about matters of which she      nonsensical as Plaintiff
              has no personal knowledge - including      both communicated to
              alleged protected activity, alleged        Defendant and she will
              retaliatory acts, and the Department’s     only testify regarding
              tenure denial decision - or about          Plaintiff’s emotional
              damages that will not be heard by the      distress damages.
              jury or that are not recoverable. See      Furthermore, given that
              Motions in Limine. Defendant also          Defendant never
              objects to the extent the proposed         deposed Plaintiff’s
              testimony of this witness would be         disclosed expert, Dr. Art
              cumulative or duplicative. Finally, this   Wright, who will be
              witness was not disclosed as               testifying regarding
              knowledgeable about any matter in this     Plaintiff’s damages,
              case until December 13, 2019, which was    Defendant’s objection
              too late to permit Defendant to explore    that they were not able to
              her alleged knowledge during discovery     explore this witnesses
              through deposition and/or document         knowledge through a
              requests. FRE 402, 403, 602.               deposition is
                                                         disingenuous.
Mary          Defendant objects to Mary Buckley          Defendant’s objection is
Buckley       testifying about matters of which she      nonsensical as Plaintiff
              has no personal knowledge - including      both communicated to
              alleged protected activity, alleged        Defendant and she will
              retaliatory acts, and the Department’s     only testify regarding
              tenure denial decision - or about          Plaintiff’s emotional

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            damages that will not be heard by the      distress damages.
            jury or that are not recoverable. See      Furthermore, given that
            Motions in Limine. Defendant also          Defendant never
            objects to the extent the proposed         deposed Plaintiff’s
            testimony of this witness would be         disclosed expert, Dr. Art
            cumulative or duplicative. Finally, this   Wright, who will be
            witness was not disclosed as               testifying regarding
            knowledgeable about any matter in this     Plaintiff’s damages,
            case until December 13, 2019, which was    Defendant’s objection
            too late to permit Defendant to explore    that they were not able to
            her alleged knowledge during discovery     explore this witnesses
            through deposition and/or document         knowledge through a
            requests. FRE 402, 403, 602.               deposition is
                                                       disingenuous.
Pat         Defendant objects to Pat McDaniel          Defendant’s objection is
McDaniel    testifying about matters of which she      nonsensical as Plaintiff
            has no personal knowledge - including      both communicated to
            alleged protected activity, alleged        Defendant and they will
            retaliatory acts, and the Department’s     only testify regarding
            tenure denial decision - or about          Plaintiff’s emotional
            damages that will not be heard by the      distress damages.
            jury or that are not recoverable. See      Furthermore, given that
            Motions in Limine. Defendant also          Defendant never
            objects to the extent the proposed         deposed Plaintiff’s
            testimony of this witness would be         disclosed expert, Dr. Art
            cumulative or duplicative. Finally, this   Wright, who will be
            witness was not disclosed as               testifying regarding
            knowledgeable about any matter in this     Plaintiff’s damages,
            case until December 13, 2019, which was    Defendant’s objection
            too late to permit Defendant to explore    that they were not able to
            her alleged knowledge during discovery     explore this witnesses
            through deposition and/or document         knowledge through a
            requests. FRE 402, 403, 602.               deposition is
                                                       disingenuous.
Tom Byrne   Defendant objects to Tom Byrne             Defendant’s objection is
            testifying about matters of which he has   nonsensical as Plaintiff
            no personal knowledge - including          both communicated to
            alleged protected activity, alleged        Defendant and he will
            retaliatory acts, and the Department’s     only testify regarding
            tenure denial decision - or about          Plaintiff’s emotional
            damages that will not be heard by the      distress damages.
            jury or that are not recoverable. See      Furthermore, given that
            Motions in Limine. Defendant also          Defendant never
            objects to the extent the proposed         deposed Plaintiff’s
            testimony of this witness would be         disclosed expert, Dr. Art
            cumulative or duplicative. Finally, this   Wright, who will be

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              witness was not disclosed as               testifying regarding
              knowledgeable about any matter in this     Plaintiff’s damages,
              case until December 13, 2019, which was    Defendant’s objection
              too late to permit Defendant to explore    that they were not able to
              his alleged knowledge during discovery     explore this witnesses
              through deposition and/or document         knowledge through a
              requests. FRE 402, 403, 602.               deposition is
                                                         disingenuous.
Kevin Poole   Defendant objects to Kevin Poole           He will testify as to his
              testifying to matters that will not be     opinion regarding the
              heard by the jury, call for speculation,   harm of tenure denial for
              relate to damages that are not             a Spanish academic
              recoverable, and/or are                    based on his perception
              cumulative/duplicative or not based on     as a Spanish academic
              personal knowledge. FRE 402, 403, 602.     who was a junior faculty
              Defendant further objects to the extent    member within the
              Plaintiff intends to use this witness to   Department of Spanish
              present quasi-expert opinion regarding     and Portuguese. This
              damages. FRE 701. Moreover, this           testimony will aid the jury
              witness was not disclosed as having        in determining the
              knowledge of Plaintiff’s damages, and      appropriate
              thus Defendant had no notice that he       noneconomic
              might testify on that topic.               compensatory damages.

Paulo         Defendant objects to Paulo Moreira         He will testify as to his
Moreira       testifying to matters that will not be     opinion regarding the
              heard by the jury, call for speculation,   harm of tenure denial for
              relate to damages that are not             a Spanish academic
              recoverable, and/or are                    based on his perception
              cumulative/duplicative or not based on     as a Spanish academic
              personal knowledge. FRE 402, 403, 602.     who was a junior faculty
              Defendant further objects to the extent    member within the
              Plaintiff intends to use this witness to   Department of Spanish
              present quasi-expert opinion regarding     and Portuguese. This
              damages. FRE 701. Moreover, this           testimony will aid the jury
              witness was not disclosed as having        in determining the
              knowledge of Plaintiff’s damages, and      appropriate
              thus Defendant had no notice that he       noneconomic
              might testify on that topic.               compensatory damages

Frederick     Defendant objects to Frederick de Armas    He will testify as to his
de Armas      testifying to matters that will not be     opinion regarding the
              heard by the jury, call for speculation,   harm of tenure denial for
              relate to damages that are not             a Spanish academic
              recoverable, and/or are                    based on his perception
              cumulative/duplicative or not based on     as a Spanish academic

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             personal knowledge. FRE 402, 403, 602.     who was a junior faculty
             Defendant further objects to the extent    member within the
             Plaintiff intends to use this witness to   Department of Spanish
             present quasi-expert opinion regarding     and Portuguese. This
             damages. FRE 701. Finally, this witness    testimony will aid the jury
             was not disclosed as knowledgeable         in determining the
             about any matter in this case until        appropriate
             December 13, 2019, which was too late to   noneconomic
             permit Defendant to explore his alleged    compensatory damages.
             knowledge during discovery through
             deposition and/or document requests.


Bruce      Defendant objects to Bruce Burningham        He will testify as to his
Burningham testifying to matters that will not be       opinion regarding the
           heard by the jury, call for speculation,     harm of tenure denial for
           relate to damages that are not               a Spanish academic
           recoverable, and/or are                      based on his perception
           cumulative/duplicative or not based on       as a Spanish academic
           personal knowledge. FRE 402, 403, 602.       who was a junior faculty
           Defendant further objects to the extent      member within the
           Plaintiff intends to use this witness to     Department of Spanish
           present quasi-expert opinion regarding       and Portuguese. This
           damages. FRE 701. Finally, this witness      testimony will aid the jury
           was not disclosed as knowledgeable           in determining the
           about any matter in this case until          appropriate
           December 13, 2019, which was too late to     noneconomic
           permit Defendant to explore his alleged      compensatory damages.
           knowledge during discovery through
           deposition and/or document requests.


Anne Cruz    Defendant objects to Anne Cruz             She will testify as to his
             testifying to matters that will not be     opinion regarding the
             heard by the jury, call for speculation,   harm of tenure denial for
             relate to damages that are not             a Spanish academic
             recoverable, and/or are                    based on his perception
             cumulative/duplicative or not based on     as a Spanish academic
             personal knowledge. FRE 402, 403, 602.     who was a junior faculty
             Defendant further objects to the extent    member within the
             Plaintiff intends to use this witness to   Department of Spanish
             present quasi-expert opinion regarding     and Portuguese. This
             damages. FRE 701. Finally, this witness    testimony will aid the jury
             was not disclosed as knowledgeable         in determining the
             about any matter in this case until        appropriate
             December 13, 2019, which was too late to   noneconomic
             permit Defendant to explore his alleged    compensatory damages.
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            knowledge during discovery through
            deposition and/or document requests.

Anthony     Defendant objects to Anthony Cascardi      He will testify as to his
Cascardi    testifying to matters that will not be     opinion regarding the
            heard by the jury, call for speculation,   harm of tenure denial for
            relate to damages that are not             a Spanish academic
            recoverable, and/or are                    based on his perception
            cumulative/duplicative or not based on     as a Spanish academic
            personal knowledge. FRE 402, 403, 602.     who was a junior faculty
            Defendant further objects to the extent    member within the
            Plaintiff intends to use this witness to   Department of Spanish
            present quasi-expert opinion regarding     and Portuguese. This
            damages. FRE 701. Finally, this witness    testimony will aid the jury
            was not disclosed as knowledgeable         in determining the
            about any matter in this case until        appropriate
            December 13, 2019, which was too late to   noneconomic
            permit Defendant to explore his alleged    compensatory damages.
            knowledge during discovery through
            deposition and/or document requests.

Roger       Defendant objects to Roger Folger          He will testify as to his
Folger      testifying to matters that will not be     opinion regarding the
            heard by the jury, call for speculation,   harm of tenure denial for
            relate to damages that are not             a Spanish academic
            recoverable, and/or are                    based on his perception
            cumulative/duplicative or not based on     as a Spanish academic
            personal knowledge. FRE 402, 403, 602.     who was a junior faculty
            Defendant further objects to the extent    member within the
            Plaintiff intends to use this witness to   Department of Spanish
            present quasi-expert opinion regarding     and Portuguese. This
            damages. FRE 701. Finally, this witness    testimony will aid the jury
            was not disclosed as knowledgeable         in determining the
            about any matter in this case until        appropriate
            December 13, 2019, which was too late to   noneconomic
            permit Defendant to explore his alleged    compensatory damages.
            knowledge during discovery through
            deposition and/or document requests.


Enrique     Defendant objects to Enrique Garcia        He will testify as to his
Garcia      Santo-Tomas testifying to matters that     opinion regarding the
Santo-      will not be heard by the jury, call for    harm of tenure denial for
Tomas       speculation, relate to damages that are    a Spanish academic
            not recoverable, and/or are                based on his perception
            cumulative/duplicative or not based on     as a Spanish academic

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             personal knowledge. FRE 402, 403, 602.     who was a junior faculty
             Defendant further objects to the extent    member within the
             Plaintiff intends to use this witness to   Department of Spanish
             present quasi-expert opinion regarding     and Portuguese. This
             damages. FRE 701. Finally, this witness    testimony will aid the jury
             was not disclosed as knowledgeable         in determining the
             about any matter in this case until        appropriate
             December 13, 2019, which was too late to   noneconomic
             permit Defendant to explore his alleged    compensatory damages.
             knowledge during discovery through
             deposition and/or document requests.

Mary         Defendant objects to Mary Garylord         She will testify as to his
Gaylord      testifying to matters that will not be     opinion regarding the
             heard by the jury, call for speculation,   harm of tenure denial for
             relate to damages that are not             a Spanish academic
             recoverable, and/or are                    based on his perception
             cumulative/duplicative or not based on     as a Spanish academic
             personal knowledge. FRE 402, 403, 602.     who was a junior faculty
             Defendant further objects to the extent    member within the
             Plaintiff intends to use this witness to   Department of Spanish
             present quasi-expert opinion regarding     and Portuguese. This
             damages. FRE 701. Finally, this witness    testimony will aid the jury
             was not disclosed as knowledgeable         in determining the
             about any matter in this case until        appropriate
             December 13, 2019, which was too late to   noneconomic
             permit Defendant to explore his alleged    compensatory damages.
             knowledge during discovery through
             deposition and/or document requests.

Patricia     Defendant objects to Patricia Grieve       She will testify as to his
Grieve       testifying to matters that will not be     opinion regarding the
             heard by the jury, call for speculation,   harm of tenure denial for
             relate to damages that are not             a Spanish academic
             recoverable, and/or are                    based on his perception
             cumulative/duplicative or not based on     as a Spanish academic
             personal knowledge. FRE 402, 403, 602.     who was a junior faculty
             Defendant further objects to the extent    member within the
             Plaintiff intends to use this witness to   Department of Spanish
             present quasi-expert opinion regarding     and Portuguese. This
             damages. FRE 701. Finally, this witness    testimony will aid the jury
             was not disclosed as knowledgeable         in determining the
             about any matter in this case until        appropriate
             December 13, 2019, which was too late to   noneconomic
             permit Defendant to explore his alleged    compensatory damages.


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             knowledge during discovery through
             deposition and/or document requests.

Alison       Defendant objects to Allison Weber          She will testify as to his
Weber        testifying to matters that will not be      opinion regarding the
             heard by the jury, call for speculation,    harm of tenure denial for
             relate to damages that are not              a Spanish academic
             recoverable, and/or are                     based on his perception
             cumulative/duplicative or not based on      as a Spanish academic
             personal knowledge. FRE 402, 403, 602.      who was a junior faculty
             Defendant further objects to the extent     member within the
             Plaintiff intends to use this witness to    Department of Spanish
             present quasi-expert opinion regarding      and Portuguese. This
             damages. FRE 701. Finally, this witness     testimony will aid the jury
             was not disclosed as knowledgeable          in determining the
             about any matter in this case until         appropriate
             December 13, 2019, which was too late to    noneconomic
             permit Defendant to explore his alleged     compensatory damages.
             knowledge during discovery through
             deposition and/or document requests.

Victor Wang Defendant objects to Victor Wang, who       He will testify as to his
            was a reporter for the student              personal knowledge
            newspaper, testifying to matters of         regarding conversations
            which he has no personal knowledge          held with Plaintiff as part
            and/or that are hearsay or irrelevant.      of writing articles for
            FRE 402, 602, 801.                          Yale Daily News
                                                        regarding sexual
                                                        harassment complaints
                                                        within the Department of
                                                        Spanish and Portuguese.
                                                        Therefore his testimony
                                                        is not inadmissible
                                                        hearsay or falls within an
                                                        exception to the hearsay
                                                        rule.
Emma         Defendant objects to Emma Platoff, who She will testify as to his
Platoff      was a reporter for the student             personal knowledge
             newspaper, testifying to matters of        regarding conversations
             which she has no personal knowledge        held with Plaintiff as part
             and/or that are hearsay or irrelevant. FRE of writing articles for
             402, 602, 801.                             Yale Daily News
                                                        regarding sexual
                                                        harassment complaints
                                                        within the Department of
                                                        Spanish and Portuguese.

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                                                                   Therefore his testimony
                                                                   is not inadmissible
                                                                   hearsay or falls within an
                                                                   exception to the hearsay
                                                                   rule.
 Dr. Arthur            Defendant objects to Arthur Wright          Dr. Wright is an
 Wright                testifying about damages that will not be   economist with over
 (damages              heard by the jury or are not recoverable.   thirty years of
 expert)               Defendant also objects to this proposed     experience. See Wright
                       testimony on the ground that it is unduly   C.V. He has a Ph.D. in
                       speculative, uses an unsupported            economics from
                       methodology, and assumes facts not in       Massachusetts Institute
                       evidence. See Defendant’s Motions in        of Technology and is
                       Limine.                                     currently a Professor
                                                                   Economics, Emeritus, at
                                                                   the University of
                                                                   Connecticut. To form his
                                                                   expert report, Dr. Wright
                                                                   relied on uncontroverted
                                                                   pay records disclosed by
                                                                   Defendant and applied a
                                                                   methodology supported
                                                                   by courts within the
                                                                   Second Circuit. Gulino v.
                                                                   Board of Education of the
                                                                   City School District of
                                                                   New York, 2016 U.S. Dist.
                                                                   LEXIS 103132 at *56-69
                                                                   (S.D.N.Y. June 13, 2016)




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